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                                 EXHIBIT A
Case 1:19-cv-00340-JJM-PAS Document 59-1 Filed 09/08/20 Page 2 of 2 PageID #: 533



        STATE OF RHODE ISLAND AND                              1““:
                                                                      Q.




                                                               SUPERIOR COURT
                                                             NOTICE 0F APPEAL,                      ﬂ NDN
 PlaintifﬂPetitioner
                                                           WRITO F                             g 5/971             Oﬂ/WI  .




                                                                                                           Civil Action File     Number
STEVEN        J.     PALANGE                                                                              W-2012-0361
‘Defendant/Respondcnt                                                                                      Cross-appeal
MARIA       E.   PALANGE                                                                                   D Yes D No
 Name of Each                   and
              J.   P        GE




Date Case First Filed           in the Superior   Court                           Date of Judgment or Order Appealed From
2012                                                                             May 09 201 18
 Party Filing Appeal                                                             Trial Court Judge
 D    Plaintiff(s)Petitioner(s)               Defendant(s)
 D Respondent(s) D Other:                                                        The Honorable Sandra        B. Lanni


TRIAL COURT ACTION APPEALED
 D IPR             Preliminaly Injunction                   CJJ       Judgnent/Judge                  D DPC         Denial Post Conviction
 D CON             Conviction                          D CDv          Directed Verdict                D MTR         Denial Sentence Reduction
 U IPT             Permanent Injunction                U CJU          Judgment/Jury                   D DCF         Dependency/Temﬁnation
 D CJD             Default Judgment                    D DAL          Alimony                         D DSJ         Summary Judgment
 D cns             Dismissal/Jurisdiction              U PRO          Probation Violation             D ASF         Agreed Statement of Facts
 D CDM             Dismissal Merits                    D PTM          Pretrial   Motion               D DRP         Original Divorce Petition
 D CTD             New Trial Motion Denied             D FCJ          Juvenile                        D CUS         Custody
 U CTG             New Trial Motion Granted            D PCR           Grant Post Conviction

JUDGMENT FOR:                                          SENTENCES:
      Plaintiff(s)                                     D Conﬁnement                            D Suspended
D Defendant(s)                                         D Special Program                       D Probation
D Other                                                D    Fine/Restitution                   D Deferred
BAIL/RELEASE STATUS
D Personal Recognizance                                D Surety Bond                           D Held In Lieu   OfBail
D Held Without Bail                                    D Cash Bond                             D Other
TRANSCRIPT STATUS

D Transcript Will Not Be Ordered                  Filing   Fee Required:          Yes   D No             Egg?“
                                                                                                                       Receipt


Z Transcript Will Be Ordered                      Appeal Filing Fee     for   Each Appellant or Petitioner: $ 150.00

Estimatedcostssooooo                              CW“ “PW"

                                                                                                           Rhode    Island Bar    Number:
/s/

Attorney for the         D Plaintiff [Petitioner D Defendant/Respondent or                                 Date:
U     Plaintiff /Petitioner           Defendant/Respondent                                                January 16, 201 6
Telephone Number:401 225 5456



      Superior-SO (revised            November 201 6)
